Case 1:17-cv-04327-LLS-RWL Document 27-7 Filed 06/21/17 Page 1 of 19




EXHIBIT G
                Case 1:17-cv-04327-LLS-RWL Document 27-7 Filed 06/21/17 Page 2 of 19




From:                                Ditlow, Lindsay F.
Sent:                                Tuesday, June 20, 2017 4:13 PM
To:                                  'Barry Guaglardi'
Cc:                                  'Evan Ostrer'; Cousin, Brian S.; Meredith, Mark D.
Subject:                             RE: Dardashtian v. Gitman
Attachments:                         Dardashtian Account Access Information.xlsx; CHANNELREPLY INC. -DE Dissolution
                                     Evidence.pdf; Dardashtian v Gitman 17 cv 4327 TRO B Worksheet.pdf


Barry,
 Attached please find a spreadsheet detailing all account information, including login and password information for Mr.
Dardashtian. Many of the passwords are Mr. Dardashtian's private passwords. If he has any problem logging in he can
use the "forgot my password" function and reset through normal channels, as the accounts are tied to his e-mail
address. Additionally, please find the CR Inc. State of Delaware Certificate of Dissolution as well as an outline of all
recent money transfers regarding the CSV Bank of America bank account. As noted in Mr. Gitman's affidavit yesterday,
the current balance of that account is over $80,000 (it was approximately $73,000 on or May 27). Please review the
attached, and let us know as soon as possible if there is anything else you believe Mr. Gitman is required to do to comply
with the court orders.

Best regards,
Lindsay

                   Lindsay F. Ditlow

                   D +1 212 398 5782 | US Internal 15782
                   lindsay.ditlow@dentons.com
                   Bio | Website

                   Dentons US LLP

                   大成 Salans FMC SNR Denton McKenna Long

                   Dentons is a global legal practice providing client services worldwide through its member firms and affiliates. This
                   email may be confidential and protected by legal privilege. If you are not the intended recipient, disclosure,
                   copying, distribution and use are prohibited; please notify us immediately and delete this copy from your system.
                   Please see dentons.com for Legal Notices.



From: Barry Guaglardi [mailto:bguaglardi@adgmlaw.com]
Sent: Tuesday, June 20, 2017 1:22 PM
To: Ditlow, Lindsay F.
Cc: Evan Ostrer; Cousin, Brian S.; Meredith, Mark D.
Subject: Re: Dardashtian v. Gitman

Lindsay

Please identify, in detail, all of the actions taken by your client to comply with the Court's orders, so we can review same
with our client. Please include all new passwords, login and access information so that my client has the ability to
confirm whether your client has taken all such actions as have been ordered by the Court.



                                                                  1
             Case 1:17-cv-04327-LLS-RWL Document 27-7 Filed 06/21/17 Page 3 of 19
As you know, there were representations by your client in his prior certification to the Court that he previously took all
such actions that were necessary to comply with the Court's June 8 and 9 Orders, and a great deal of unnecessary time
was expended by my client and my firm to confirm the accuracy of your client's representations and to demonstrate that
same were untrue. We don't want to repeat that exercise without the proof as to what actions were actually taken.

The court was clear yesterday that the burden is on your client to establish compliance, not mine.

So rather than ask if there is anything else your client needs to do, please specify, in detail, what actions he has taken,
and provide all necessary information, including passcodes, login and access information so our client can verify same.

We will continue to cooperate, but need the above information to do so.

Thank you.

Barry Guaglardi

Sent from my iPhone

On Jun 20, 2017, at 12:34 PM, Ditlow, Lindsay F. <lindsay.ditlow@dentons.com> wrote:

        Barry,
         Other than finalizing the closing of the CR Inc. bank account and forwarding the certificate of
        dissolution as described below, Mr. Gitman has taken the steps to comply with the Court's Orders of
        June 8, June 9 and Judge Stanton's verbal order yesterday, as detailed in his affidavit and in my e-mail to
        you below. If there are things you contend still have not been completed, please provide specifics so
        that Mr. Gitman can take any additional actions necessary to try and resolve the items identified by
        you. Judge Stanton directed Mr. Gitman to work with plaintiffs to ensure compliance. Your response
        below does not facilitate such efforts. As requested, please promptly identify and detail any
        outstanding actions plaintiffs contend Mr. Gitman must take to comply with the court orders so that Mr.
        Gitman may address these points in a timely fashion before tomorrow's hearing.

        Best regards,
        Lindsay

        <image001.png>
                           Lindsay F. Ditlow

                           D +1 212 398 5782 | US Internal 15782
                           lindsay.ditlow@dentons.com
                           Bio | Website

                           Dentons US LLP

                           大成 Salans FMC SNR Denton McKenna Long

                           Dentons is a global legal practice providing client services worldwide through its member firms and affiliates. This
                           email may be confidential and protected by legal privilege. If you are not the intended recipient, disclosure,
                           copying, distribution and use are prohibited; please notify us immediately and delete this copy from your system.
                           Please see dentons.com for Legal Notices.



        From: Barry Guaglardi [mailto:bguaglardi@adgmlaw.com]
        Sent: Tuesday, June 20, 2017 12:18 PM
        To: Ditlow, Lindsay F.
                                                                 2
     Case 1:17-cv-04327-LLS-RWL Document 27-7 Filed 06/21/17 Page 4 of 19
Cc: Evan Ostrer; Cousin, Brian S.; Meredith, Mark D.
Subject: Re: Dardashtian v. Gitman

Lindsay

As you know from Judge Stanton's verbal order yesterday, there is no compliance until the status quo as
it existed on May 26, 2017 in all of Plaintiffs' Companies is fully and completely restored and returned to
in each and every respect,
and further until there is full and complete compliance with this Court's OSC dated June 8, as amended
on June 9 and yesterday's verbal order of Judge Stanton.

Please guide your client accordingly as there will be no exceptions.

When you have provided proof, as the court directed, of everything being restored and returned to the
manner in which it existed prior to your client's alteration of same, and proof of full and complete
compliance with the Court's several orders, we will at that time review your proof and respond
accordingly. We will not review things on a piecemeal basis.

Thank you.

Barry Guaglardi

Sent from my iPhone

On Jun 20, 2017, at 11:33 AM, Ditlow, Lindsay F. <lindsay.ditlow@dentons.com> wrote:

          Barry,
           In a good faith effort to comply with Judge Stanton's Order of June 19, 2017, Mr.
          Gitman has taken the following actions:

              1. Transferred the Channel Reply Stripe Account (see account notice change
                 attached).
              2. Provided Mr. Dardashtian access to all accounts requested, except for the 2
                 accounts Mr. Gitman has no knowledge of. (See June 19, 2017 Affidavit of David
                 Gitman, Exh. D).
              3. Mr. Gitman has instructed Mr. Farooq to dissolve CR Inc. It is my understanding
                 that Mr. Farooq has started the process by ensuring franchise tax filings are in
                 place (see attached), is preparing corporate resolutions and filings with the
                 State of Delaware. I will provide you a copy of the dissolution certificate as soon
                 as it becomes available.
              4. A transfer of all funds in the CR Inc. bank account to the CSV Bank Account (see
                 attached). Mr. Gitman was informed by JP Morgan Chase that there were some
                 pending transactions on the CR Inc. bank account and because of that, the
                 account could not be closed yesterday, but once those transactions clear, Mr.
                 Gitman will close the account.

          Please advise if based on the foregoing, Mr. Gitman is complying with the Court's
          Order. If there are any additional steps you believe Mr. Gitman must take to dissolve CR
          Inc. and comply with Judge Stanton's Order, please promptly advise as to what those
          specific items are.

          Best regards,
          Lindsay
                                                      3
Case 1:17-cv-04327-LLS-RWL Document 27-7 Filed 06/21/17 Page 5 of 19


 <image001.png>
                  Lindsay F. Ditlow

                  D +1 212 398 5782 | US Internal 15782
                  lindsay.ditlow@dentons.com
                  Bio | Website

                  Dentons US LLP

                  大成 Salans FMC SNR Denton McKenna Long

                  Dentons is a global legal practice providing client services worldwide through its member firms and affiliate
                  email may be confidential and protected by legal privilege. If you are not the intended recipient, disclosure,
                  copying, distribution and use are prohibited; please notify us immediately and delete this copy from your sy
                  Please see dentons.com for Legal Notices.



 <Transfer of CR Stripe Account.pdf>
 <C--ICIS-TempPDFS-EcorpConfirmationPDFs-20174837552.pdf>
 <Chase Wire 5018259559.pdf>




                                               4
Service                 Account                                       Status 7/10/17   Notes 7/10/17    Status 7/18/17 Notes 7/18/17      Owner        Username                          Password                  Screenshot
G Suite                 Admin                                         Confirmed                         Confirmed                         NDAP         mdash@ndap-llc.com                Michael's private password, unkown
                                                                                                                                                                                                                      https://www.awesomescreenshot.com/image/2599165/70115ab1dfb27b3de164939f9135b515
                                                                                                                                                                                                                              to dgitman
G Suite                 mdash@ndap-llc.com                            Confirmed                         Confirmed                         NDAP         mdash@ndap-llc.com                Michael's private password, unkown
                                                                                                                                                                                                                      https://www.awesomescreenshot.com/image/2599169/00d74f2aedb811c04f4a027141607a94
                                                                                                                                                                                                                              to dgitman
G Suite                 mdash@carpartkings.com                        Confirmed                         Confirmed                         NDAP         mdash@ndap-llc.com                Michael's private password, unkown
                                                                                                                                                                                                                      https://www.awesomescreenshot.com/image/2599171/ac5110cee3ffddeae62aedc42458e7b7
                                                                                                                                                                                                                              to dgitman
G Suite                 mdash@coopersquare.ventures                   Confirmed                         Confirmed                         CSV          mdash@ndap-llc.com                Michael's private password, unkown
                                                                                                                                                                                                                      https://www.awesomescreenshot.com/image/2599173/a637875584d007eb2e25584eb59c07ff
                                                                                                                                                                                                                              to dgitman
G Suite                 mdash@coopersquareventures.com                Confirmed                         Confirmed                         CSV          mdash@ndap-llc.com                Michael's private password, unkown
                                                                                                                                                                                                                      https://www.awesomescreenshot.com/image/2599176/c22afb07b0d0bb5f7d38609dc7d640ab
                                                                                                                                                                                                                              to dgitman
G Suite                 mdash@plumburs.com                            Confirmed                         Confirmed                         Plumburs     mdash@ndap-llc.com                Michael's private password, unkown
                                                                                                                                                                                                                      https://www.awesomescreenshot.com/image/2599181/1129781728901c8a58aec505a1f659c4
                                                                                                                                                                                                                              to dgitman
G Suite                 michael@channelreply.com                      -                channelreply.com Confirmed
                                                                                                        was moved to ChannelReply's
                                                                                                                      Forwarded to michael@coopersquare.ventures
                                                                                                                                    Inc G
                                                                                                                                        CRSuite
                                                                                                                                           LLCaccount.
                                                                                                                                                   mdash@ndap-llc.com
                                                                                                                                                       This account no longer exisits.   Michael's private password, unkown
                                                                                                                                                                                                                      https://www.awesomescreenshot.com/image/2599183/9434a52ecd1e9e84cba8e5df8d0cf4ee
                                                                                                                                                                                                                              to dgitman
G Suite                 partners@ndap-llc.com                         Confirmed                         Confirmed                         NDAP         mdash@ndap-llc.com                Michael's private password, unkown
                                                                                                                                                                                                                      https://www.awesomescreenshot.com/image/2599184/44ba81e69c9a6ecaa49fe630add6e570
                                                                                                                                                                                                                              to dgitman
G Suite                 partners@plumburs.com                         Confirmed                         Confirmed                         Plumburs     mdash@ndap-llc.com                Michael's private password, unkown
                                                                                                                                                                                                                      https://www.awesomescreenshot.com/image/2599187/3ca188cec9a1fd3620a1c474ba0a4926
                                                                                                                                                                                                                              to dgitman
G Suite                 paypal@coopersqaureventures.com               Confirmed                         Confirmed                         CSV          mdash@ndap-llc.com                Michael's private password, unkown
                                                                                                                                                                                                                      https://www.awesomescreenshot.com/image/2599191/9bbd0ca67330b3d77846a95d703f8e31
                                                                                                                                                                                                                              to dgitman
G Suite                 sales@carpartkings.com                        Confirmed                         Confirmed                         NDAP         mdash@ndap-llc.com                Michael's private password, unkown
                                                                                                                                                                                                                      https://www.awesomescreenshot.com/image/2599194/96a2827e75f3f18f7c3febae9b34d25f
                                                                                                                                                                                                                              to dgitman
G Suite                 sales@channelreply.com                        -                channelreply.com Confirmed
                                                                                                        was moved to ChannelReply's
                                                                                                                      Forwarded to support@channelreply.com
                                                                                                                                    Inc G
                                                                                                                                        CRSuite
                                                                                                                                           LLCaccount.
                                                                                                                                                   mdash@ndap-llc.com
                                                                                                                                                       This account no longer exisits.   Michael's private password, unkown
                                                                                                                                                                                                                      https://www.awesomescreenshot.com/image/2599197/a204c71e5060cb2ab8e4f03badb3b72c
                                                                                                                                                                                                                              to dgitman
G Suite                 sales@nextdayautoparts.com                    Confirmed                         Confirmed                         NDAP         mdash@ndap-llc.com                Michael's private password, unkown
                                                                                                                                                                                                                      https://www.awesomescreenshot.com/image/2599200/47f9cc7c90f505a4a67d605960c9c3a5
                                                                                                                                                                                                                              to dgitman
G Suite                 support@channelreply.com                      -                channelreply.com Confirmed
                                                                                                        was moved to ChannelReply's
                                                                                                                      Forwarded to support@channelreply.zendesk.com
                                                                                                                                    Inc G
                                                                                                                                        CRSuite
                                                                                                                                           LLCaccount.
                                                                                                                                                   mdash@ndap-llc.com
                                                                                                                                                       This account no longer exisits.   Michael's private password, unkown
                                                                                                                                                                                                                      https://www.awesomescreenshot.com/image/2599202/48d2b3acc51755f34b3e727b7c694ff6
                                                                                                                                                                                                                              to dgitman
Bank Of America         Cooper Square Ventures                        Confirmed                         Confirmed                         CSV          ndaponline                        Michael's private password, unkown
                                                                                                                                                                                                                      https://www.awesomescreenshot.com/image/2599209/7ab9f71a4f88d26710a6cfc1d23fa623
                                                                                                                                                                                                                              to dgitman
Bank Of America         NDAP                                          Confirmed                         Confirmed                         NDAP         ndaponline                        Michael's private password, unkown
                                                                                                                                                                                                                      https://www.awesomescreenshot.com/image/2599209/7ab9f71a4f88d26710a6cfc1d23fa623
                                                                                                                                                                                                                              to dgitman
1Password               mdash@ndap-llc.com                            Confirmed                         Confirmed                         NDAP         mdash@ndap-llc.com                Michael's private password, unkown
                                                                                                                                                                                                                      https://www.awesomescreenshot.com/image/2599216/1d6a0947f6d63ac3ce4fbb334dac84b2
                                                                                                                                                                                                                              to dgitman
ChargeBee               michael@channelreply.com                      -                Moved to was moved
                                                                                                      Confirmed
                                                                                                          to ChannelReply's
                                                                                                                     Invite Inc.This
                                                                                                                            sent to Mkes
                                                                                                                                     account
                                                                                                                                        CR
                                                                                                                                         email
                                                                                                                                           LLC
                                                                                                                                             no longermichael@channelreply.com
                                                                                                                                                       exisits.                          Michael's private password, unkown
                                                                                                                                                                                                                      https://www.awesomescreenshot.com/image/2599218/453a66a3aea6b5a5d6956a356b6514ca
                                                                                                                                                                                                                              to dgitman
Stripe                  michael@channelreply.com                      -                Moved to was moved
                                                                                                      Confirmed
                                                                                                          to ChannelReply's
                                                                                                                     Invite Inc.This
                                                                                                                            sent to Mkes
                                                                                                                                     account
                                                                                                                                        CR
                                                                                                                                         email
                                                                                                                                           LLC
                                                                                                                                             no longermichael@channelreply.com
                                                                                                                                                       exisits.                          Michael's private password, unkown
                                                                                                                                                                                                                      https://www.awesomescreenshot.com/image/2599220/f4ba1441a535bb0581953d49db5205be
                                                                                                                                                                                                                              to dgitman
PayPal                  michael@channelreply.com                      -                Moved to was moved
                                                                                                      Confirmed
                                                                                                          to ChannelReply's
                                                                                                                     Username:
                                                                                                                            Inc.This
                                                                                                                                  CRMDASH17
                                                                                                                                     account
                                                                                                                                        CR LLC
                                                                                                                                             no longer
                                                                                                                                                Password:
                                                                                                                                                     CRMDASH17
                                                                                                                                                       exisits.
                                                                                                                                                           Change!me                                               https://www.awesomescreenshot.com/image/2599224/ef271c5ab151784d9c557dd83c51ebef
UpWork                  NDAP                                          -                                                                   NDAP         mdash@ndap-llc.com                Michael's private password, unkown
                                                                                                                                                                                                                      https://www.awesomescreenshot.com/image/2599230/7d4e1e52cacedf53ae17b36bb9b3701f
                                                                                                                                                                                                                              to dgitman
UpWork                  Cooper Square Ventures                        Confirmed        Invite sent to MkesConfirmed
                                                                                                           email                          CSV          mdash@ndap-llc.com                Michael's private password, unkown
                                                                                                                                                                                                                      https://www.awesomescreenshot.com/image/2599236/c905e4eecb31d479d52eabce88740ded
                                                                                                                                                                                                                              to dgitman
UpWork                  Channel Reply                                 Confirmed        Invite sent to MkesConfirmed
                                                                                                           email                          CR LLC       mdash@ndap-llc.com                Michael's private password, unkown
                                                                                                                                                                                                                      https://www.awesomescreenshot.com/image/2599238/a181138ef7ea2a672cf34e590b4c3899
                                                                                                                                                                                                                              to dgitman
UpWork                  Plumburs                                      Confirmed        Invite sent to MkesConfirmed
                                                                                                           email                          Plumburs     mdash@ndap-llc.com                Michael's private password, unkown
                                                                                                                                                                                                                      https://www.awesomescreenshot.com/image/2599243/1b0d17f7a5108be9d4d7e18aa61027a6
                                                                                                                                                                                                                              to dgitman
Zendesk                 mdash@coopersquareventures.com                Confirmed                         Confirmed                         CSV          mdash@coopersquareventures.com    Michael's private password, unkown
                                                                                                                                                                                                                      https://www.awesomescreenshot.com/image/2599247/80ecd7b342b2f0c48fc750dc1a6c6dac
                                                                                                                                                                                                                              to dgitman
Jira                    mdash@ndap-llc.com                            Confirmed                         Confirmed                         NDAP         mdash@ndap-llc.com                Michael's private password, unkown
                                                                                                                                                                                                                      https://www.awesomescreenshot.com/image/2599414/907dbf56f2ec1732d1bfbae82fe28385
                                                                                                                                                                                                                              to dgitman
Slack                   mikedash1@gmail.com                           -                Moved to was moved
                                                                                                      Confirmed
                                                                                                          to ChannelReply's Inc.This account
                                                                                                                                        CR LLC
                                                                                                                                             no longermikedash1@gmail.com
                                                                                                                                                       exisits.                          Michael's private password, unkown
                                                                                                                                                                                                                      https://www.awesomescreenshot.com/image/2599251/ebd84a701056505dd1416292eb1dc72a
                                                                                                                                                                                                                              to dgitman
Amazon Seller Central   mdash@ndap-llc.com                            Confirmed                         Confirmed                         NDAP         mdash@ndap-llc.com                Michael's private password, unkown
                                                                                                                                                                                                                      https://www.awesomescreenshot.com/image/2599255/4be0d05f3b7e2e0644845708ad683f46
                                                                                                                                                                                                                              to dgitman
eBay                    carpartkings                                  Confirmed                         Confirmed                         NDAP         carpartkings                                                https://www.awesomescreenshot.com/image/2599265/28de46c26bc9ad7acd6cc05ea95e6d40
Timedoctor              mdash@ndap-llc.com                            Confirmed        Invite sent to MkesConfirmed
                                                                                                           email                          NDAP         mdash@ndap-llc.com                Michael's private password, unkown
                                                                                                                                                                                                                      https://www.awesomescreenshot.com/image/2599272/a2738dee2a658f65b5886de269b7c62d
                                                                                                                                                                                                                              to dgitman
Timedoctor              mdash@ndap-llc.com                            -                                                                   CR LLC       mdash@ndap-llc.com                Michael's private password, unkown
                                                                                                                                                                                                                      https://www.awesomescreenshot.com/image/2599275/0ebf9b0e39d4c0c37ef2d8f7091c6f51
                                                                                                                                                                                                                              to dgitman
Amazon Web Services mdash                                             Confirmed                         Confirmed                         NDAP         mdash                             Michael's private password, unkown
                                                                                                                                                                                                                      https://www.awesomescreenshot.com/image/2599278/7b9e405071b466ed5502ea70f3eff2f9
                                                                                                                                                                                                                              to dgitman
Amazon Web Services mdash                                             -                                 -                                 CR LLC       mdash                             Michael's private password, unkown
                                                                                                                                                                                                                      https://www.awesomescreenshot.com/image/2599286/13cef0225bb18c22550775418d9b1514
                                                                                                                                                                                                                              to dgitman
American Express        ndapamexonline                                Confirmed                         Confirmed                         NDAP         ndapamexonline                    Michael's private password, unkown
                                                                                                                                                                                                                      https://www.awesomescreenshot.com/image/2599293/988c9e3b5c788282959ac1757626aa6a
                                                                                                                                                                                                                              to dgitman
American Express        ndapamexonline2                               Confirmed                         Confirmed                         NDAP         ndapamexonline2                                             https://www.awesomescreenshot.com/image/2599298/31f415907c3a2ea1d374e28106018355
Magento                 mdash                                         Confirmed                         Confirmed                         NDAP         mdash                             Michael's private password, unkown
                                                                                                                                                                                                                      https://www.awesomescreenshot.com/image/2599310/1f04e632aafe001ff55e15cc4225ae08
                                                                                                                                                                                                                              to dgitman
Quickbooks              Cooper Square Ventures (mdash@ndap-llc.com)   Confirmed                         Confirmed                         CSV          mdash@ndap-llc.com                Michael's private password, unkown
                                                                                                                                                                                                                      https://www.awesomescreenshot.com/image/2599347/0936f0569be4a780c74e34e35c156da2
                                                                                                                                                                                                                              to dgitman
Quickbooks              Car Part Kings (mdash@ndap-llc.com)           Confirmed                         Confirmed                         NDAP         mdash@ndap-llc.com                Michael's private password, unkown
                                                                                                                                                                                                                      https://www.awesomescreenshot.com/image/2599351/8310c4e13902b1d6f32d9a6ffc553617
                                                                                                                                                                                                                              to dgitman
Quickbooks              ChannelReply (mdash@ndap-llc.com)             -                                 -                                 CR LLC       mdash@ndap-llc.com                Michael's private password, unkown
                                                                                                                                                                                                                      https://www.awesomescreenshot.com/image/2599355/7946711a9f6cc0e52bdd14bd942105d7
                                                                                                                                                                                                                              to dgitman
Quickbooks              Plumburs(mdash@ndap-llc.com)                  -                                 -                                 Plumburs     mdash@ndap-llc.com                Michael's private password, unkown
                                                                                                                                                                                                                      https://www.awesomescreenshot.com/image/2599358/c762b38cc5dd5afd095d2be024752a7a
                                                                                                                                                                                                                              to dgitman
desk.com                N/A                                           -                I have no knowledge
                                                                                                        - of this accountI have no knowledge of this account                                               I have no knowledge of this account
GoDaddy                 coopersquareventures (mdash@coopersqaureventures.com)
                                                                    Confirmed          Invite sent to MkesConfirmed
                                                                                                           email                          CSV          mdash@ndap-llc.com                Michael's private password, unkown
                                                                                                                                                                                                                      https://www.awesomescreenshot.com/image/2599372/9ebb154a4dd77c2eadb9afa590064684
                                                                                                                                                                                                                              to dgitman
GoDaddy                 ndap (mdash@ndap-llc.com)                     Confirmed                         Confirmed                         NDAP         mdash@ndap-llc.com                Michael's private password, unkown
                                                                                                                                                                                                                      https://www.awesomescreenshot.com/image/2599366/1809290b8ac29a55cd05e3b953f6d276
                                                                                                                                                                                                                              to dgitman
GoDaddy                 Plumburs (mdash@plumburs.com)                 Confirmed        Invite sent to MkesConfirmed
                                                                                                           email                          Plumburs     mdash@ndap-llc.com                Michael's private password, unkown
                                                                                                                                                                                                                      https://www.awesomescreenshot.com/image/2599377/d452e1ad05724d131a2210615b2ec19c
                                                                                                                                                                                                                              to dgitman
GoDaddy                 CR                                            -                                 -                                 CR LLC       mdash@ndap-llc.com                Michael's private password, unkown
                                                                                                                                                                                                                      https://www.awesomescreenshot.com/image/2599380/1f4d8882a687ea03e5f91ae2cae31d9b
                                                                                                                                                                                                                              to dgitman
MageMojo                dgitman@ndap-llc.com                          Confirmed                         Confirmed                         NDAP         dgitman@ndap-llc.com                                        https://www.awesomescreenshot.com/image/2599382/36905f7049c0bfe1281fa6c5f9c37197
MageMojo                dgitman@plumburs.com                          Confrimed                         Confrimed                         Plumburs     dgitman@plumburs.com                                        https://www.awesomescreenshot.com/image/2599384/2ab68ce648c762f8c10c0eb33d0a2175
MailChimp               mikedash1                                     Confirmed                         Confirmed                         NDAP         mikedash1                                                   https://www.awesomescreenshot.com/image/2599386/ca777c05afd6e4fe005493580baa612e
Github                  mikedash1                                     Confirmed                         Confirmed                         NDAP         mikedash1                         Michael's private password, unkown
                                                                                                                                                                                                                      https://www.awesomescreenshot.com/image/2599390/f24f11f95bcf6f10d45df3bd134bf8d9
                                                                                                                                                                                                                              to dgitman
Github                  mikedash1                                     -                                 -                                 CSV          mikedash1                         Michael's private password, unkown
                                                                                                                                                                                                                      https://www.awesomescreenshot.com/image/2599395/a4a47940269ceea057c680a862117b42
                                                                                                                                                                                                                              to dgitman
Github                  mikedash1                                     -                                 -                                 CR LLC       mikedash1                         Michael's private password, unkown
                                                                                                                                                                                                                      https://www.awesomescreenshot.com/image/2599399/120542f949ab89642933af09115978b7
                                                                                                                                                                                                                              to dgitman
Ringcentral                                               6465535918 Confirmed                          Confirmed                         NDAP                                           Michael's private password, unkown
                                                                                                                                                                                                                      https://www.awesomescreenshot.com/image/2599401/64a150a702eb17ce56f9962e8ef67734
                                                                                                                                                                                                                              to dgitman
join.me                 N/A                                           -                I have no knowledge
                                                                                                        - of this accountI have no knowledge of this account                                               I have no knowledge of this account
                                                                                                                                                                                                                                                                                                         Case 1:17-cv-04327-LLS-RWL Document 27-7 Filed 06/21/17 Page 6 of 19
    Case 1:17-cv-04327-LLS-RWL Document 27-7 Filed 06/21/17 Page 7 of 19




                                           Delaware                                         Page 1

                                                       The First State



             I, JEFFREY W. BULLOCK, SECRETARY OF STATE OF THE STATE OF

    DELAWARE, DO HEREBY CERTIFY THE ATTACHED IS A TRUE AND CORRECT

    COPY OF THE CERTIFICATE OF DISSOLUTION OF “CHANNELREPLY INC.”,

    FILED IN THIS OFFICE ON THE TWENTIETH DAY OF JUNE, A.D. 2017,

    AT 10:17 O`CLOCK A.M.




6427452 8100                                                                Authentication: 202741039
SR# 20174838133                                                                         Date: 06-20-17
You may verify this certificate online at corp.delaware.gov/authver.shtml
Case 1:17-cv-04327-LLS-RWL Document 27-7 Filed 06/21/17 Page 8 of 19
Case 1:17-cv-04327-LLS-RWL Document 27-7 Filed 06/21/17 Page 9 of 19
Case 1:17-cv-04327-LLS-RWL Document 27-7 Filed 06/21/17 Page 10 of 19
Case 1:17-cv-04327-LLS-RWL Document 27-7 Filed 06/21/17 Page 11 of 19
Case 1:17-cv-04327-LLS-RWL Document 27-7 Filed 06/21/17 Page 12 of 19
Case 1:17-cv-04327-LLS-RWL Document 27-7 Filed 06/21/17 Page 13 of 19
Case 1:17-cv-04327-LLS-RWL Document 27-7 Filed 06/21/17 Page 14 of 19
Case 1:17-cv-04327-LLS-RWL Document 27-7 Filed 06/21/17 Page 15 of 19
Case 1:17-cv-04327-LLS-RWL Document 27-7 Filed 06/21/17 Page 16 of 19
Case 1:17-cv-04327-LLS-RWL Document 27-7 Filed 06/21/17 Page 17 of 19
Case 1:17-cv-04327-LLS-RWL Document 27-7 Filed 06/21/17 Page 18 of 19
Case 1:17-cv-04327-LLS-RWL Document 27-7 Filed 06/21/17 Page 19 of 19
